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                         5                                 UNITED STATES DISTRICT COURT
                         6                                         DISTRICT OF NEVADA
                         7
                              MARTIN S. ROOD, an individual,                      Case No.:
                         8
                                                     Plaintiff,
                         9      v.
                                                                                              COMPLAINT FOR:
                        10     LIBERTY INSURANCE UNDERWRITERS
                              INC., a Stock Insurance Company, a/k/a                  (1) BREACH OF CONTRACT;
                        11    Liberty Mutual Group; DOES 1 through 5, and             (2) BREACH OF THE IMPLIED
                              ROE CORPORATIONS 1 through 5,                               COVENANT OF GOOD FAITH
                        12                                                                AND FAIR DEALING;
                                                     Defendants.                      (3) VIOLATIONS OF NEVADA’S
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                        13                                                                UNFAIR CLAIMS SETTLEMENT
                                                                                          ACT, NEV. REV. STAT. ANN. § 686
                        14                                                                A.310;
                                                                                      (4) DECLARATORY RELIEF – DUTY
                        15                                                                TO DEFEND.

                        16                                                               JURY DEMAND

                        17
                                     Plaintiff, Martin S. Rood (“Rood” or “Plaintiff”) hereby alleges as follows:
                        18
                        19                                                 PARTIES
                        20           1.     At all times mentioned herein, Plaintiff, Martin S. Rood, is an individual residing in

                        21   the State of Washington.

                        22           2.     That the true names and capacities of Defendants named herein as Does 1-5,
                        23   inclusive, are unknown to Plaintiff, who therefore sues said Defendants by such fictitious names.
                        24   Plaintiff is informed and believes and therefore alleges that each of the Defendants designated as a
                        25   Doe is responsible for the events and happenings referred to and proximately caused damages to
                        26   Plaintiff as alleged herein. Plaintiff will ask leave of Court to amend the Complaint to insert the true
                        27   names and capacities of Doe Defendants 1 through 5, inclusive, when the same have been
                        28   ascertained and to join such Defendants in the action.


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                         1          3.      That the true names and capacities of Defendants named herein as Roe Corporations
                         2   1-5, inclusive, are unknown to Plaintiff, who therefore sues said Defendants by such fictitious
                         3   names. Plaintiff is informed and believes and therefore alleges that each of the Defendants
                         4   designated as a Roe Corporation is responsible for the events and happenings referred to and
                         5   proximately caused damages to Plaintiff as alleged herein. Plaintiff will ask leave of Court to amend
                         6   the Complaint to insert the true names and capacities of Roe Defendants 1 through 5, inclusive,
                         7   when the same have been ascertained and to join such Defendants in the action.
                         8          4.      That the events and circumstances described in this Complaint took place in the State
                         9   of Nevada. All of the Defendants in this action are completely diverse from the Plaintiff and the
                        10   amount in controversy is greater than seventy-five thousand dollars ($75,000.00).
                        11
                                                               JURISDICTION AND VENUE
                        12
                                    5.      This Court has original jurisdiction over this action founded on diversity of
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                        13
                             citizenship pursuant 28 U.S.C. § 1332, because the matters in controversy exceed $75,000.00,
                        14
                             exclusive of interest and costs, and because complete diversity exists between Rood and Defendants.
                        15
                                    6.      Venue is proper in this Court in accordance with 28 U.S.C. § 1391.
                        16
                        17                         FACTS COMMON TO ALL CAUSES OF ACTION
                        18                               AND GENERAL ALLEGATIONS

                        19          7.      Rood realleges the allegations contained in paragraphs 1 through 6, inclusive, and
                        20   incorporates them by reference as though fully set forth herein.
                        21          8.      In about 2006, a company called Hallock Ryno, Inc. (“HRI”) loaned money (the
                        22   “Cielo Vista Loan”) to a Nevada entity, Cielo Vista, LLC (“Cielo Vista”).
                        23
                                    9.      Cielo Vista owned Real Property comprised to two contiguous vacant parcels,
                        24
                             Assessor’s Parcel Number (“APN”) 139-27-708-001 and APN 139-27-708-002, located at the corner
                        25
                             of Veteran’s Memorial Drive and Washington Avenue in Las Vegas, Nevada (the “Real Property”).
                        26
                                    10.     Upon information and belief, the Real Property was Cielo Vista’s only asset.
                        27
                        28



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                         1          11.      HRI then prepared public offering documentation for potential investors to acquire
                         2   the Cielo Vista Loan.
                         3          12.      Specifically, HRI prepared a document titled “Specific Offering Circular for Cielo
                         4   Vista, LLC” (the “Circular”).
                         5
                                    13.      Included in the Circular was an appraisal of the Real Property performed and signed
                         6
                             by Jack P. Gillespie, Arthur F. Nelson, and Don Foster Scroggins (the “Appraisers”), (the
                         7
                             “Appraisal”).
                         8
                         9          14.      The Appraisal valued the Real Property at Five Million Four Hundred Ninety

                        10   Thousand and no/100 Dollars ($5,490,000.00).

                        11          15.      The Appraisal had an effective date of August 19, 2006 and was transmitted by letter
                        12   dated December 14, 2006.
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                        13          16.      Plaintiff relied upon the value of the Real Property as specified in the Appraisal when
                        14   making his decision to invest Eight Hundred Thousand and No/100 Dollars ($800,000.00) to acquire
                        15   fifty-percent (50%) of the Cielo Vista Loan from HRI through an assignment of deed of trust.
                        16
                                    17.      In or about November 2010, during the course of discovery in litigation with HRI,
                        17
                             Plaintiff discovered that the Real Property was appraised in late 2005 at a value of less than half the
                        18
                             value assigned to the Real Property by the Appraisers.
                        19
                        20          18.      Plaintiff resides in the State of Washington and has no personal knowledge of the Las

                        21   Vegas real estate market.

                        22          19.      In or about November or December of 2010, Plaintiff learned from conversations
                        23   with other Nevada-based appraisers, that the Appraisers compared the Real Property to properties
                        24   that are not comparable to the Real Property.
                        25          20.      Plaintiff at this time learned that Appraisers were negligent and committed
                        26   malpractice in their preparation and presentation of the Appraisal.
                        27
                        28



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                         1          21.     The Appraisers were aware when they prepared and presented the Appraisal that HRI
                         2   was using the Appraisal in its Circular and were also aware that third parties, such as the Plaintiff,
                         3   would rely on the Appraisal in making investment decisions.
                         4          22.     When Cielo Vista failed, Plaintiff lost his investment, because the Real Property was
                         5   worth far less than the value contained in the Appraisal on its effective date; consequently, the Real
                         6   Property had no value to provide Plaintiff full recompense following the foreclosure sale.
                         7
                                    23.     Plaintiff filed suit in the U.S. District Court, District of Nevada, on May 25, 2012,
                         8
                             Case No.: 2:12-cv-00893 against the Appraisers, including Jack Paul Gillespie (the “Underlying
                         9
                             Lawsuit”).
                        10

                        11          24.     In the Underlying Lawsuit, Plaintiff alleged that the actual value as of the date of the

                        12   Appraisal was Two Million Two Hundred Sixty Thousand and No/100 Dollars ($2,260,000.00), and
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                        13   that had he known the true value, he would not have invested in the Cielo Vista Loan.

                        14          25.     The U.S. District Court, District of Nevada entered an Order granting Summary
                        15   Judgment against Jack P. Gillespie (“Gillespie”), one of the Appraiser-defendants in the Underlying
                        16   Lawsuit, on September 15, 2014, awarding Plaintiff monetary damages in the amount of Six
                        17   Hundred Forty-Seven Thousand and No/100 Dollars ($647,000.00).
                        18          26.     That Order was appealed by Gillespie to the Ninth Judicial U.S. District Court on
                        19   October 15, 2014.
                        20
                                    27.     An Order dismissing the appeal was entered by the Ninth Judicial U.S. District Court
                        21
                             on October 2, 2015.
                        22
                        23          28.     Gillespie was insured by Liberty Insurance Underwriters, Inc., a/k/a Liberty Mutual

                        24   Group (“Liberty”), pursuant to Policy No. LIU009185-007 (the “Policy”) with an effective date of

                        25   November 2, 2010 through November 2, 2011, and providing retroactive coverage for negligent acts,

                        26   errors or omissions committed by Gillespie on or after August 19, 1997.

                        27          29.     Gillespie made a claim with Liberty for coverage to defend the Underlying Lawsuit
                        28   and was notified by Liberty’s legal counsel via correspondence dated June 11, 2012, that there was



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                         1   no coverage “under the terms of the subject policy” and that “Liberty will be unable to assist with
                         2   any defense or indemnification for either the lawsuit or for the state board complaint made by Martin
                         3   S. Rood” (the “Denial Letter”).
                         4          30.     On January 19, 2016, Gillespie assigned all claims, causes of action and choses of
                         5
                             action he may have against the Defendant, Liberty, to Plaintiff, Martin S. Rood (the “Assignment”).
                         6
                         7          31.     On February 15, 2016, Plaintiff again made demand to Liberty for coverage under the

                         8   policy for payment of the September 15, 2014 judgment against its insured, Gillespie, and for all

                         9   attorney’s fees and costs accrued in connection therewith, pursuant to the Policy.

                        10          32.     On or about May 10, 2016, Liberty, through its counsel Lipson, Neilson, Cole,

                        11   Seltzer, Garin, P.C. again denied coverage of the claim.
                        12                                       FIRST CAUSE OF ACTION
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                        13                                            Breach of Contract
                        14          33.     Rood realleges the allegations contained in paragraphs 1 through 32, inclusive, and
                        15   incorporates them by reference as though fully set forth herein.
                        16          34.     Gillespie requested that Defendant defend him in the Underlying Lawsuit as
                        17   described more fully above.       Gillespie performed all obligations owing under the Policy in
                        18   connection with its tender of defense, and Gillespie satisfied all relevant conditions precedent.
                        19          35.     Defendant failed to discharge its contractual duties to defend Gillespie in the
                        20   Underlying Action. More particularly, Defendant breached its contract by failing to promptly
                        21   respond to Gillespie’s tender.
                        22          36.     Additionally, Defendant failed to cover and pay the damages suffered by Rood as
                        23   provided under the Policy as it was contractually obligated to do.
                        24          37.     Plaintiff has a valid assignment of all of Gillespie’s claims, causes of action, choses
                        25   of action, rights, or demands that Gillespie may possess against Defendants.
                        26          38.     As a direct and proximate result of Defendant’s conduct as alleged in this Complaint,
                        27   Rood has been damaged in an amount to be proven at trial.
                        28



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                         1                                       SECOND CAUSE OF ACTION
                         2                    Breach of the Implied Covenant of Good Faith and Fair Dealing
                         3             39.   Rood realleges the allegations contained in paragraphs 1 through 38, inclusive, and
                         4   incorporates them by reference as though fully set forth herein.
                         5             40.   Defendant owed Gillespie a duty of good faith and fair dealing, obligating Defendant
                         6   to put Gillespie’s interests equal with or ahead of their own interests and to do nothing to deprive
                         7   Gillespie of his Policy benefits.
                         8             41.   Rather than honor their obligations, Defendant instead sought to protect its own
                         9   interests and have subordinated Gillespie’s interests by refusing to discharge contractual duties
                        10   without reasonable grounds or good cause.

                        11             42.   In addition, Defendants have acted with knowledge or reckless disregard of the lack
                        12   of a reasonable grounds or good cause.
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                        13             43.   Accordingly, Defendants have deprived Gillespie of his rights and benefits under the
                        14   Policy.
                        15             44.   Defendants’ conduct as alleged in this Complaint is part of a pattern of unfair claims
                        16   practices intentionally engaged in by Defendants to enhance unfairly their own profits by avoiding
                        17   contractual obligations and ignoring the contractual rights and economic interests of Gillespie.
                        18             45.   As a direct and proximate result of Defendants’ tortious breach of the duty of good
                        19   faith and fair dealing, Rood has suffered damages in an amount to be proven at trial, including
                        20   without limitation, legal costs incurred to obtain the benefits of the respective policies.
                        21             46.   In addition, Defendants’ conduct as alleged in this Complaint is despicable and has
                        22   been carried out in willful and conscious disregard of Gillespie’s and Rood’s rights and economic
                        23   interests, and is malicious, fraudulent and oppressive. Accordingly, Defendants’ conduct entitles
                        24   Rood to punitive damages.
                        25             47.   Defendants’ malicious, fraudulent, and oppressive conduct includes, for example:
                        26                   a.     As described above, Defendants were fully aware of their duty to promptly

                        27                   investigate and respond to Gillespie’s tenders and indicate whether Defendants would
                        28



                                                                               6
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                         1                  defend Gillespie against the Rood action, but Defendants willfully and conscious
                         2                  disregarded Gillespie’s rights.
                         3                  b.     As described above, Defendants are fully aware of their duty to defend against
                         4                  claims alleging potential liability arising out of the work of their named insureds,.
                         5                  Defendants know this behavior violates the rights of their insureds, like Gillespie, but
                         6                  Defendants intentionally try to deprive their insureds, like Gillespie, of policy
                         7                  benefits in order to unfairly enhance their own profits.
                         8                  c.     As described above, Defendants were fully aware of their duty to fully defend
                         9                  Gillespie. Defendants knew that failing to provide Gillespie with a full defense
                        10                  would violate its contractual rights, but Defendants intentionally claimed they had no

                        11                  duty to defend or pay out under their policy.
                        12                                      THIRD CAUSE OF ACTION
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                        13                  Violations of Nevada’s Unfair Claims Settlement Practices Action,
                        14                                    Nev. Rev. Stat. Ann. § 686A.310
                        15          48.     Rood realleges the allegations contained in paragraphs 1 through 47, inclusive, and
                        16   incorporates them by reference as though fully set forth herein.
                        17          49.     Defendants’ conduct constitutes a violation of one or more of the following sub-
                        18   sections of Nev. Rev. Stat. Ann. § 686A.310:
                                    (a)     Misrepresenting to insureds or claimants pertinent facts or insurance
                        19                  policy provisions relating to any coverage at issue.
                        20          (b)     Failing to acknowledge and act reasonably promptly upon
                                            communications with respect to claims arising under insurance policies.
                        21          (c)     Failing to adopt and implement reasonable standards for the prompt
                                            investigation and processing of claims under insurance policies.
                        22          ...
                                    (e)     Failing to effectuate prompt, fair and equitable settlements of claims in
                        23
                                            which liability of the insurer has become reasonably clear.
                        24
                                    50.     As a direct and proximate result of Defendants’ violations of Nev. Rev. Stat. Ann. §
                        25
                             686A.310, Rood has sustained damages in an amount within the jurisdictional limits of this Court,
                        26
                             including, but not limited to, punitive damages.
                        27
                                    51.     As a direct and proximate result of Defendants’ violations of Nev. Rev. Stat. Ann. §
                        28
                             686A.310, Rood has incurred attorneys’ fees, court costs and other expenses in bringing this action.

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                         1                                      FOURTH CAUSE OF ACTION
                         2                                           (Declaratory Relief)
                         3          52.     Rood realleges the allegations contained in paragraphs 1 through 51, inclusive, and
                         4   incorporates them by reference as though fully set forth herein.
                         5          53.     An actual controversy has arisen and now exists between Rood, on the one hand, and
                         6   Defendants, on the other hand, in that Rood contends that under the Liberty Policy, the Defendant
                         7   owed a separate and independent duty to promptly and fully defend Gillespie in the Underlying
                         8   Lawsuit action.
                         9          54.     Rood is the valid assignee of all of Gillespie’s claims, causes of action and choses of
                        10   action resulting from the Underlying Lawsuit.

                        11          55.     Rood is informed and believes that Defendants contend otherwise.
                        12          56.     Rood desires a judicial determination as follows:
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                        13                  a.     that the Defendant owed a separate and independent duty to defend Gillespie
                        14                         against the Underlying Lawsuit action;
                        15                  b.     that the scope of this duty was to provide Gillespie with an immediate and full
                        16                         defense; and
                        17                  c.     the Defendant failed to uphold its duties causing damage to Gillespie and to
                        18                         Rood by way of the Assignment.
                        19          57.     A declaratory judgment is both proper and necessary so that the respective rights,
                        20   duties, and obligations of Rood and Defendant may be determined.
                        21                                                 PRAYER
                        22          WHEREFORE, Rood prays for judgment against Defendants as follows:
                        23          1.      FIRST CAUSE OF ACTION:
                        24                  a.     For general and specific damages in an amount to be proven at trial;
                        25                  b.     For all costs and expenses at the full extent permitted by law;
                        26                  c.     For pre-judgment interest and post-judgment interest at the full extent

                        27                  permitted by law;
                        28                  d.     For attorneys’ fees to the extent recoverable by applicable law; and



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                         1              e.     For such other and further relief as the Court deems fair and proper.
                         2         2.   SECOND CAUSE OF ACTION:
                         3              a.     For general and specific damages in an amount to be proven at trial;
                         4              b.     For punitive damages at the full extent permitted by law;
                         5              c.     For all costs and expenses at the full extent permitted by law;
                         6              d.     For pre-judgment interest and post-judgment interest at the full extent
                         7              permitted by law;
                         8              e.     For attorneys’ fees to the extent recoverable by applicable law; and
                         9              f.     For such other and further relief as the Court deems fair and proper.
                        10         3.   THIRD CAUSE OF ACTION:

                        11              a.     For general and specific damages in an amount to be proven at trial;
                        12              b.     For punitive damages at the full extent permitted by law;
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                        13              c.     For all costs and expenses at the full extent permitted by law;
                        14              d.     For pre-judgment interest and post-judgment interest at the full extent
                        15              permitted by law;
                        16              e.     For attorneys’ fees to the extent recoverable by applicable law; and
                        17              f.     For such other and further relief as the Court deems fair and proper.
                        18         4.   FOURTH CAUSE OF ACTION:
                        19              a.     For declaratory relief as described above;
                        20              b.     For all costs and expenses at the full extent permitted by law;
                        21              c.     For pre-judgment interest and post-judgment interest at the full extent
                        22              permitted by law;
                        23              d.     For attorneys’ fees to the extent recoverable by applicable law; and
                        24              e.     For such other and further relief as the Court deems fair and proper.
                        25
                        26   ///

                        27   ///
                        28   ///



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                         1                                      JURY DEMAND
                         2      Rood hereby demands a trial by jury.
                         3      DATED this ___ day of August, 2016.
                         4                                              Respectfully submitted,
                         5
                         6
                         7                                              SPENCER M. JUDD, ESQ.
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